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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                                CRIMINAL NO. 07-50097-02

 VERSUS                                                  JUDGE S. MAURICE HICKS, JR.

 VERNON CLAVILLE                                         MAGISTRATE JUDGE HORNSBY

                                  MEMORANDUM ORDER

        Before the Court is a Motion for Pretrial Juror Questionnaire and to View the Juror

 Questionnaires (Record Document 45) filed by the defendant, Vernon Claville (“Claville”).

 Claville requests that he be permitted to serve prospective jurors with the questionnaire

 attached to his motion as Exhibit 3 and that the parties be permitted to view the completed

 questionnaires at least 24 hours before trial. He further argues that the questionnaire is

 in the best interest of all of the parties and the Court “so as to select a fair and impartial

 jury to hear this very important case.” Record Document 45 at 2. The Government did not

 respond to Claville’s motion. For the reasons which follow, the Motion for Pretrial Juror

 Questionnaire and to View the Juror Questionnaires is DENIED.

        Federal Rule of Criminal Procedure 24 states, in pertinent part:

        (a)    Examination.

               (1)    In General. The court may examine prospective jurors or may
                      permit the attorneys for the parties to do so.

               (2)    Court Examination. If the court examines the jurors, it must
                      permit the attorneys for the parties to:

                      (A)     ask further questions that the court considers proper; or

                      (B)     submit further questions that the court may ask if it
                              considers them proper.

 Rule 24 gives the district court broad discretion in determining the appropriate scope and
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 method of jury voir dire. See U.S. v. Hawkins, 658 F.2d 279, 283 (5th Cir. 1981). This

 broad discretion extends to the decision whether to propound questions proffered by

 counsel. See id.

         At the outset, the Court notes that while many of the questions contained in the

 pretrial juror questionnaire are already part of the Court’s standard voir dire examination,

 there are a number of submitted questions that would not be “proper” under any reading

 of Rule 24. Further, other than conclusory allegations of “overt racial discrimination in the

 past” and “an undercurrent of bias against African-Americans,” Claville has not made a

 specific showing that the relief he seeks in this motion is necessary. Record Document 45-

 2 at 1 & 2. The Court believes that its standard voir dire examination will adequately

 develop any knowledge or prejudice concerning this case that a prospective juror may

 have. Further, if it appears during voir dire that supplemental questions are needed, the

 Court will entertain such a request at that time. Thus, based on the Court’s broad

 discretion under Rule 24, the instant motion is denied.

         Accordingly,

         IT IS ORDERED that the Motion for Pretrial Juror Questionnaire and to View the

 Juror Questionnaires (Record Document 45) filed by the defendant, Vernon Claville, be

 and is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 20th day of March,

 2008.




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